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AO 9l (Rev. lllll)    Criminal Complaint



                                       UNrrpn Srarps Drsrrucr CoURT
                                                                   for the
                                                         Southern District of Iowa

                     United States of America
                                  V.
                                                                             Case   No. 1:25-mj-015
                      Tracy Brian Schooling



                             Defendant(s)


                                                    CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                 101112023 throueh 0110112025 in the county     of            Montgomery             in the
   Southem District of         Iowa          , the defendant(s) violated:

          Code Section                                    Offense Description

T. 18, U.S.C., Section 2251(a) Sexual Exploitaiton and Attempted Sexual Exploitation of a Child




          This criminal complaint is based on these facts:

See attached Affidavit.




          t Continued on the attached sheet.

                                                                                               Complainant's signature
          O Sworn to before me and signed in my presence.
                                                                                               Chad Standard, SA
         d Sworn to before me by telephone or other                                            Printed name and title
              reliable electronic means.




Date:   February 28, 2025
                                                                                                 Judge's signature

City and state:                        Council Bludfs, Iowa                          William P. Kelly, U.S. Magistrate Judge
                                                                                               Printed name and title
                           FILED
                           By: Clerk’s Office, Southern District of Iowa
                          11:31 am, Feb 28 2025
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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF IOWA


UNITED STATES OF AMERICA,                          )   Case No. 1:25-mj-015
                                                   )
                 V.                                )   Atr'FIDAVIT IN SUPPORT
                                                   )   OF CRIMINAL COMPLAINT
TRACY BRIAN SCHOOLING,                             )
                                                   )   FILED UNDER SEAL
                 Defendant.                        )


            AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLA]NT

       I, Special Agent, Chad Standard, being first duly sworn, hereby depose and
state as follows:

                    INTRODUCTION AND AGENT BACKGROUND

       1.      I, Chad Standard, am a Special Agent for the Iowa Department of Public

Safety, Division of Criminal Investigation (DCI), and I have been employed by DCI

as such since July of 1998. I have successfully completed fifteen weeks of Law

Enforcement Training at the Iowa Department of Public Safety Training Center. As

part of my duties as a DCI agent, I investigate criminal violations relating to the

production, distribution, receipt and possession of child pornography, in violation of

18 U.S.C. 225L, 2252, ar,d 2252A. I have received training in the area of child

pornography and child exploitation, including training from the Internet Crimes

Against Children Task Force, and have had the opportunity to observe and review

numerous examples of child pornography in all forms of media including computer

media. As a part of my duties with the Iowa DCI, I often seek and execute arrest and

search warrants supporting the Iowa Internet Crimes Against Children Task Force.

   FILED
   By: Clerk’s Office, Southern District of Iowa
   11:31 am, Feb 28 2025
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I am making this sworn Affidavit in support of a criminal complaint against
defendant, Tracy Brian Schooling.

       2.    The information set forth in this affidavit is based on my investigation

of this matter, my knowledge, training, and experience, my own observations,
information received from other law enforcement officers and./or witnesses, direct

examination of relevant documents and./or Internet websites, and/or interviews with

persons named in this affidavit.

                                PROBABLE CAUSE

       3.    In JuIy of 2024, Discord became aware of eight (8) video fi.les which
depicted child pornography that were uploaded and stored in Discord infrastructure

by one of its users. The approximate dates Discord became aware of the fiIes in

question were July L0, 2024, and JuIy 12, 2024. Discord identified the screen/user

name in question as jayeur6296 and an ESP User ID: 102075613L724918875 with an

associated phone number of (712) 370-0864.

      4.     In accordance with federal law, Discord reported this incident to the
National Center For Missing and Exploited Children (NCMEC). NCMEC Cybertip

report numbers 196399175, L96642I67, and 19655L443 were generated from the

information that Discord provided.

      5.     From as early as July of 2024, Discord captured a cell phone number

associated with the Discord account with the Screen/User Name: jayeur6296. This

account contained eight (8) video files of suspected child pornography. The cell phone

number (712) 370-0864 was determined to belong to U.S. Cellular and the area code


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(712) is the telephone area code for western fowa, including the cities of Council

Bluffs, Sioux City, and Spencer.

       6.       Cybertip report numbers 196399175, 196642167, and 196551443 were

assigned to me on October 8,2024. Upon receiving the Cybertip reports, I reviewed

the information contained within them. I was able to determine that the eight (8)

video files in question were uploaded by the Discord user account jayeur6296 and an

ESP User ID: 102075613L724918875 with an associated phone number of (712) 370-

0864, were viewed by a representative of Discord.

       7.       I was also able to review the video files that were uploaded by the
Discord user jayeur6296 and an ESP User ID: 7020756131724918875 with an

associated phone number of (712) 370-0864. I determined that a1l eight of the video

files appear to depict child pornography. I briefly described two of the eight video

files, below:

                Video 1: This is an 18 second video. It depicts a white juvenile female

        approximately 8 to 10 years of age sitting on what appears to be a bed while

        performing oral sex on a white adult male. The juvenile female is topless

        wearing only underwear bottoms.

                Video 2: This is an 11 second video. It depicts a juvenile female approximately

        B to 10 years of age lying on her back on the floor. The juvenile female is wearing a

        t-shirt and she has her legs spread apart and pulled up towards her head with her

        underwear around her ankles exposing her genital area. The juvenile female is

        touching her genital area with her right hand.



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      8.     On October 15,2024, I served a State of Iowa search warrant on Discord

for additional records and content related to the Discord account with screen/user

name ofjayeur6296 with the ESP User ID: 1020756131724918875 with az associated

phone number of (712) 370-0864. A response was received from Discord on October

17, 2024, indicating that the Discord account is associated with the IP Address of

166.181.86.138 that was used to log in/upload to the Discord account containing child

pornography. I reviewed two video files out of approximately ten videos of what

appeared to be child pornography obtained from Discord's response to the Search

Warrant. It should be noted that the videos described below appear to be the same

videos that were previously described from the original Cyber-Tips.

            Video 1: This is an 18 second video. It depicts a white juvenile female
       approximately 8 to 10 years of age sitting on what appears to be a bed while

       performing oral sex on a white adult male. The juvenile female is topless wearing

       only underwear bottoms.

            Video 2: This is an 11 second video. It depicts a juvenile female
       approximately 8 to 10 years of age lying on her back on the floor. The juvenile

       female is wearing a t-shirt and she has her legs spread apart and pulled up

       towards her head with her underwear around her ankles exposing her genital

       area. The juvenile female is touching her genital area with her right hand.

      9.    Information from Discord indicated that the cell phone number (7L2)

370-0864 was associated with the Discord account containing 10 video files of child

pornography. I conducted an open-source records check on the cell phone number of

(712) 370-0864. It was discovered that the cell phone number (712) 370-0864 belongs
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to U.S. Cellular. U.S. Cellular was served with a Pottawattamie County subpoena to

identifr the subscriber of the cell phone number (7L2) 370-0864 for the time period of

January L,2024 through October 9,2024. Information obtained from U.S. Cellular

identified the subscriber of U.S. Cellular ceII phone number (712) 370-0864 during

the identified time period as being Tracy Schooling with a date of birth of XX/XXL974.

U.S. Cellular also listed the customer email as schoolinstracv@gmail.com. The

account was active as of July 31, 2019, through the date of the subpoena, October 9,

2024, for a Galaxy S21 Ultra 5G cell phone. The billing and primary address is listed

as 206 W 5th St., Red Oak, IA 51566.

      10. I conducted an open-source records check through the Montgomery
County, Iowa, assessor site and learned that Tracy Schooling owns a residence

Iocated at 206 W 5th St., Red Oak, IA 51566.

      11. I conducted a records check through the Iowa Department of
Transportation on Tracy Brian Schooling. I found that Tracy Schooling, date of birth

February 3, 1974, has a valid Iowa driver's license, number 719-XX-4980. This

driver's license is connected to the address of 206 W 5th St., Red Oak, IA 51566. The

Iowa Driver's license was issued on January 15, 2018.

      12. I also conducted a records check through the Iowa Department of
Transportation to determine what vehicles are registered in Iowa to Tracy Schooling.

I determined there are two vehicles registered in Iowa to Tracy Schooling. The first
vehicle is a maroon 1997, Dodge R1500 pick-up with Iowa license plate JUJ010. The

second vehicle is a blue L997, Dodge V25 conversion van with Iowa license plate
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GSS804. Both vehicles are owned by Tracy Schooling and are associated with the

address 206 W 5th St., Red Oak, IA 51566.

          13. Additionally, I conducted an offline records check to determine what
other individuals are connected to the address at ZOG W 5th St., Red Oak, IA 51566.

One other individual was identified. That individual was Julie Ray Perkins, date of

birth XX/XX1966. Julie Perkins is on the land deed at 206 W 5th St., Red Oak, IA

5 1566.


          74. On January 16, 2025,I conducted surveillance at 206 W 5th St., Red Oak
Iowa, 51566. I obtained a description of the property, as weII as photographs of it.

The property is a single wide mobile home, with aluminum siding that is white in

color with green trim on the top and bottom with black shutters, 206 "w5th" is seen

on the west end of the trailer and the numbers "206" are in white located on a black

mailbox in front of the trailer. I observed a maroon 1997, Dodge R1500 pick-up with

Iowa license plate JUJ010, and a blue 1997, Dodge V25 conversion van with Iowa

license plate GSS804 parked in a gravel driveway located at206 W sth St. in Red Oak,

Iowa. These vehicles are registered to Tracy Schooling.

          15. On January 27 , 2025,I obtained a state search warrant for the address
at 2OG W 5th St, Red Oak Iowa, 51566 located in Montgomery County. On January

30, 2025, a search warrant was executed at 206 W sth St, located in Red Oak lowa.

DCI Agent Robert Larsen, Nate Teigland, Brian Eyberg, Tyler Kotrous, Michael

Kannas, Jon Salyers, Ryan Dudney, Garrett Clal'ton and I executed the search




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warrant. Several items were seized as possible evidence in this case. A DCI Evidence

Receipt was issued for the items seized.

      16. On January 30, 2025,I conducted a non-custodial interview with Tracy
Schooling, an adult male who resides at 2OG W 5th St, located in Red Oak lowa.

Schooling confirmed his cell phone number is (712) 370-0864. Schooling advised that

he has used Discord in the past. Schooling confirmed that he had a Discord account

with the username of jayeur6296. Schooling indicated that he has sent and received

videos and images containing child pornography. Schooling indicated that he viewed

child pornography as recently as a couple of weeks ago.

      17. Tracy Schooling admitted to possessing approximately two-hundred
files of both images and videos depicting child pornography on his cell phone.

Schooling stated that people sent him child pornography using Instagram and he

didn't know who they were. Schooling explained that in addition to possessing the

images and videos of child pornography he also distributed child pornography to two

other people. Schooling indicated that he did not know who they were and he couldn't

remember what platform he used to send them.

      18. On Thursday, February 13, 2025, I, received the forensic report
concerning the two cell phones that were seized from Tracy Schooling at the time of

the search warrant. The forensic examination was conducted by Special Agent Erik

Frampton.

      19. EVD-I: samsung s21 Galaxy Ultra bG (SM-G998I-D smart phone,
IMEI: 359276661852247. Findings: During the examination of the Samsung Smart


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Phone one (1) video file and over one hundred fiftV (150) picture files of potential

investigative interest were discovered, some of which appeared to be indicative of

CSAM (relevant timestamps ranging from 10/2023 - 0112025). It should be noted the

aforementioned media files were located in the phone's default media folder as weII

as various cache folders. The username assigned to the phone is "Tracy Schooling."

Various user accounts associated with "schoolingtracy@gmail.com" were identified.

The phone's assigned number is "712-370-0864." It should be noted, the Samsung

S21 Galaxy U1tra 5G (SM-G998[D Smart Phone is manufactured outside of the State

of Iowa.

       20. EVD-2: Samsung S10E                    (SM-G970[D Smart                Phone,

IMEI: 352809100578226. Findings: During the examination of the Samsung Smart

Phone over three hundred (300) video files and over two hundred (200) picture files

of potential investigative interest were discovered, some of which appeared to be

indicative of CSAM (relevant timestamps ranging from 10/2023 - 0ll2125). h should

be noted the aforementioned media files were located in the phone's default media

folder as well as various cache folders. Eighteen (18) picture files that depict a female

baby's vaginal area were also identified. It should be noted the exif data associated

with said picture files indicate the pictures were taken on 08/1012024 with two
separate phone models (Samsung SM-G970U and Samsung SM-G998U. The picture

files associated with the Samsung SM-970 phone contained longitude and latitude

coordinates. According to Google Maps, said coordinates appeared to be in Red Oak,

Iowa. The username assigned to the phone is "Tracy Schooling." Also identified were


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various user accounts associated with "schoolingtracy@gmail.com." The local Discord

user account as "jayeur6296" was also discovered. Various artifacts were discovered

containing the following CSAM terms: "Loli" "Pedo" "Przza" "Preteen" and "PTHC." It

should be noted, the Samsung S10E (SM-G970I-) Smart Phone is manufactured

outside of the State of Iowa.

      21. On Tuesday February, 18, 2025,I, conducted a non-custodial interview
with Tracy Schoo1ing, orl adult male who resides at 206 W 5th St, Iocated in Red Oak

Iowa. During the interview, Schooling was shown two images of a prepubescent white

female approximately 1-3 years of age to see if he could identify the unknown juvenile.

Schooling stated that the juvenile female in the two images was Minor #1. Schooling

stated that he takes care of Minor #1 once in a while. Schooling stated that he

babysits Minor #l at her mom's apartment and that her mom's name is Megan Abild.

Schooling indicated that he has known Megan for a long time. Schooling stated that

he does not babysit for Megan very often. Schooling indicated that he took pictures

of Minor #1 while babysitting her at her mom's apartment located in Red Oak, in

order to show a diaper rash. Schooling further identified his hand which was visible

in the image of Minor #1. Schooling stated that he thought he took the pictures of

Minor #1 around September of 2024- Schooling stated that he took a picture of Minor

#1 laying on the ground nude, with her legs spread apart because they were probably

just playing. Schooling further admitted that he took pictures of Minor #l's nude

genital area with his hand touching the genital area because he wanted to show that

the rash was about gone. Schooling admitted to taking several pictures of Minor #1


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in which he is spreading her vagina apart with his fingers. Schooling stated that he

was doing this in order to check for a yeast infection. Schooling stated that he took

the pictures of Minor #1's genital area with his Samsung Ultra cell phone.

       22.   On Tuesday, February 18, 2025, at approximately 10:50 AM, I, Special

Agent Chad Standard interviewed Megan Abild, the victim's mother, at the
Montgomery County Memorial Hospital located in Red Oak, Iowa. This interview

was in reference to an on-going ICAC investigation.

       23- After briefly explaining the situation to Megan Abild, Abild was shown
two images of a prepubescent white female approximately 1-3 years of age to see if

she could identifr the unknown juvenile. As I showed the images to Abild she said

that's my daughter Minor #1. She also said it's Tracy Schooling. Abild stated that

she recognized the hand that was holding her daughter as Tracy Schoolings' hand.

Abild stated that Tracy Schooling is a family friend. Abild indicated that Schooling

was friends with her dad and that her dad recently passed away. Abild said that

Schooling usually babysat her daughter Minor #l at her mom's house every other

weekend. Abild stated that her mother was Janet Christensen and that she lives at

101 E. Grimes Street, in Red Oak.

      24. Abild indicated that the last time Tracy Schooling babysat for her was
on December 28,2024. Abild verified that her daughter's name is Minor #1 and that

her date of birth is XX/X)V2022. Abild stated that in one of the images she recognized

a green blanket with blue ties on it that is located at her mother's residence in Red




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Oak. Abild stated that Schooling would also babysit her daughter at her apartment

located in Red Oak.

      25. Abild stated that Minor #1's father is Aaron McGinnis and that he
currently lives in Shenandoah. Abild stated that she did not know Aaron's date of

birth, address or phone number.

                                   CONCLUSION

      26. Based on the above, the undersigned believes that there is probable
cause to believe that Tracy Brian Schooling was involved in the production, receipt,

possession, and transportation of child pornography, in violation of Title 18, United

States Code, Sections 2251, 2252(a)(2), 2252b)(l), 2252(a)(4XB), 2252b)Q), and

22524(a)(1),22524.lr.)(1) in the Southern District of Iowa.




                                        Chad Standard
                                        Special Agent
                                        DCI/ICAC


      Subscribed and sworn to before me by telephone or other reliable electronic

means on this 28th      day of February, 2025.




                                       William P. Kelly
                                       United States Magistrate Judge




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